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Attorneys for the Official Committee of

Unsecured Creditors
UNITED STATES BANKRUPTCY COURT

DISTRICT OF IDAHO
In re:
MILLENKAMP CATTLE, INC., Case No. 24-40158-NGH

Debtors.

Filing relates to: only Administered With
&] ALL DEBTORS ase INOS:
U1 vena cae: Inc. 24-40159-NGH (Idaho Jersey Girls)
O 5 EY, il a i s 24-40160-NGH (East Valley Cattle)
CH Mill vk “y o o 24-40161-NGH (Millenkamp Properties)
LI Millenkamp Properties 24-40162-NGH (Millenkamp Properties IT)

O’MELVENY & MYERS LLP’S NOTICE OF COVER SHEET APPLICATION FOR ALLOWANCE AND
PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE MONTH OF
‘SEPTEMBER 2024 - ]

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[| Millenkamp Properties I 24-40163-NGH (Millenkamp Family)

[| Millenkamp Family 24-40164-NGH (Goose Ranch)

[_] Goose Ranch 24-40166-NGH (Black Pine Cattle)

] Black Pine Cattle 24-40167-NGH (Millenkamp Enterprises)
L] Millenkamp Enterprises 24-40165-NGH (Idaho Jersey Girls Jerome
[| Idaho Jersey Girls Jerome Dairy Dairy)

NOTICE OF O’MELVENY & MYERS LLP’S COVER SHEET APPLICATION
FOR ALLOWANCE AND PAYMENT OF INTERIM COMPENSATION
AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD
SEPTEMBER 1, 2024 THROUGH SEPTEMBER 30, 2024

TO THE OFFICE OF THE UNITED STATES TRUSTEE, THE DEBTORS, AND ALL
OTHER INTERESTED PARTIES:

PLEASE TAKE NOTICE that the professional(s) listed on Exhibit A hereto (the

“Professional(s)”) has applied to the United States Bankruptcy Court for the District of Idaho for

allowance and payment of interim compensation for services rendered and reimbursement of
expenses incurred during the period commencing September 1, 2024 and ending September 30,

2024 (the “Application Period”). As detailed on Exhibit A, the Professional(s) seek allowance

and payment of interim compensation for 75% of the fees for services rendered, plus 100% of
the interim expenses incurred during the Application Period.

Pursuant to the Order Establishing Interim Fee Application and Expense Reimbursement
Procedures entered by the Court on May 16, 2024, any party objecting to the allowance and
payment of interim compensation and reimbursement of expenses as requested must file a
written objection with the Court and serve a copy of that objection within fourteen (14) calendar
days after the date of mailing of this notice on the Office of the United States Trustee, the

Debtors, and the Official Committee of Unsecured Creditors.

O’MELVENY & MYERS LLP’S NOTICE OF COVER SHEET APPLICATION FOR ALLOWANCE AND
PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE MONTH OF
SEPTEMBER 2024 - 2

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If an objection is timely filed and served, the Debtor will pay the Professional(s) whose

application is the subject of an objection only those amounts not in dispute, until the Court hears

and resolves such disputes.

Date: October 30, 2024 /s/ Julian Gurule

O’MELVENY & MYERS LLP
Julian Gurule

/s/ Bruce A. Anderson
ELSAESSER ANDERSON, CHTD.
Bruce A. Anderson

Attorneys for the Official Committee
of Unsecured Creditors

O’MELVENY & MYERS LLP’S NOTICE OF COVER SHEET APPLICATION FOR ALLOWANCE AND

PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE MONTH OF
SEPTEMBER 2024 - 3

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I HEREBY CERTIFY that on October 30, 2024, I electronically filed with the Clerk of

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CERTIFICATE OF SERVICE

the Court a copy of the foregoing in the above-captioned matter, using the CM/ECF system,
which sent a Notice of Electronic Filing to the following person(s):

Matthew T. Christensen
US Trustee

Aaron R. Bell
Morton R. Branzburg
Heidi B. Morrison
Laura E. Burri

Brett R. Cahoon
William K. Carter
D. Blair Clark
David A. Coleman
Connor B. Edlund
Gery W. Edson

Jon B. Evans
Zachary Fairlie
Brian Faria

Kimbell D. Gourley
Daniel C. Green
Matthew W. Grimshaw
John F. Kurtz

Adam A. Lewis
Karyn Lloyd

Jed W. Manwaring

J. Justin May
Krystal R. Mikkilineni
Rhett M. Miller
John D. Munding
Jason R. Naess
James Niemeier
John O’Brien

Scott C. Powers
Cheryl Rambo
Janine P. Reynard
Robert E. Richards
Holly Roark

Evan T. Roth

Tirzah R. Roussell
Miranda K. Russell
Andrew J. Schoulder
Sheila R. Schwager
Louis V. Spiker
Matthew A. Sturzen

mtc@johnsonmaylaw.com
ustp.region18.bs.ecf@usdoj.gov
abell@evanskeane.com
mbranzburg@klehr.com
heidi@racineolson.com
Iburri@morrowfischer.com
ustp.region1 8.bs.ecf@usdoj.gov
kentcarter@grsm.com
dbc@dbclarklaw.com
david@colemanjacobsonlaw.com
edlund@mwsslawyers.com
gedson@gedson.com
evans.jb@dorsey.com
zfairlie@spencerfane.com
brian@sawtoothlaw.com
kgourley@idalaw.com
dan@racineolson.com
matt@grimshawlawgroup.com
jfk@kurtzlawllc.com
alewis@mofo.com
klloyd@grsm.com
jmanwaring@evanskeane.com
jjm@johnsonmaylaw.com
krystal. mikkilineni@dentons.com
rmiller@magicvalley.law
john@mundinglaw.com
jason.r.naess@usdoj.gov
jniemeier@mcgrathnorth.com
jobrien@spencerfane.com
spowers@spencerfane.com
cheryl.rambo@isp.idaho.gov
janine@averylaw.net
robert.richards@dentons.com
holly@roarklawboise.com
evan@sawtoothlaw.com
tirzah.roussell@dentons.com
mrussell@mofo.com
andrew.schoulder@nortonrosefulbright.com
sschwager@hawleytroxell.com
louis.spiker@millernash.com
matt@shermlaw.com

O*MELVENY & MYERS LLP’S NOTICE OF COVER SHEET APPLICATION FOR ALLOWANCE AND
PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE MONTH OF

SEPTEMBER 2024 - 4

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Meredith L. Thielbahr mthielbahr@grsm.com
Kim J. Trout ktrout@trout-law.com
Brent R. Wilson bwilson@hawleytroxell.com

Dated this 30th day of October 2024.

/s/ Bruce .A. Anderson
ELSAESSER ANDERSON, CHTD.
Bruce A. Anderson

O’MELVENY & MYERS LLP’S NOTICE OF COVER SHEET APPLICATION FOR ALLOWANCE AND
PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE MONTH OF
SEPTEMBER 2024 - 5

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Exhibit A

Invoices

Q’MELVENY & MYERS LLP’S COVER SHEET APPLICATION FOR ALLOWANCE AND PAYMENT OF
INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE MONTH OF SEPTEMBER
2024 - 6

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O'Melveny

O'Melveny & Myers LLP T: +1 213 430 6000
400 South Hope Street F: +1213 430 6407
18" Floor omm.com

Los Angeles, CA 90071-2899

October 30, 2024

MILLENKAMP CATTLE CHAPTER 11

For Professional Services Rendered Through September 30, 2024

Total Fees $196,086.50
Less 15% Discount (29,412.98)
Total Fees After Adjustment $166,673.52
Toial Disbursements $6,903.64
Total Current Invoice $173,577.16

Austin + Century City + Dallas * Houston » Los Angeles * Newport Beach * New York « San Francisco « Silicon Valley + Washington, DC
Beijing + Brussels * Hong Kong * London * Seoul + Shanghai + Singapore + Tokyo

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O'Melveny

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Matter Name: MILLENKAMP. CATTLE CHAPTER 11 Invoice: 1189433
Page'No. 2

MILLENKAMP CATTLE CHAPTER 11

For Professional Services Rendered Through September 30, 2024

Date Name Description Hours Amount
B120 ASSET ANALYSIS & RECOVERY

09/03/24 S MILDE CALL WITH D. KELLY TO DISCUSS LIEN REVIEW 1.9 1,444.00
MEMORANDUM (.2); REVIEW AND ANALYZE LIEN
REVIEW MEMORANDUM (1.7)

09/03/24 DKELLY CALL WITH S. MILDE RE: LIEN REVIEW MEMO 0.2 214.00

09/04/24 SMILDE REVIEW AND ANALYZE LIEN DOCUMENTATION 45 3,420.00
(2.1); DRAFT LIEN REVIEW MEMORANDUM (2.4)

09/04/24 GOLIVERA COMMUNICATIONS WITH OMM TEAM RE: LIEN 0.2 253.00
REVIEW

09/06/24 ZSMITH CORRESPOND WITH G. OLIVERA ABOUT NEXT 0.1 115.50
STEPS RE: LIEN REVIEW

09/06/24 DKELLY EMAILS RE: LIEN REVIEW MEMO (.2); REVIEW 0.4 428.00
LIEN REVIEW ANALYSIS (.2)

09/08/24 DKELLY REVIEW S. MILDE EDITS TO LIEN REVIEW MEMO 1.4 1,498.00
(.7); REVISIONS RE: SAME (.5); REVIEW SAME (.2)

09/09/24 ZSMITH REVIEW EMAIL FROM D. KELLY CONTAINING 0.2 231.00
MEMO REGARDING UNSECURED COLLATERAL

09/09/24 =Z SMITH CALL WITH G. OLIVERA AND D. KELLY RE: LIEN 0.5 577.50
REVIEW

09/09/24 9G OLIVERA REVIEW AND EDIT LIEN REVIEW INVESTIGATION 0.7 885.50
MEMORANDUM

09/09/24 GOLIVERA CONFERENCE CALL WITH OMM TEAM RE: LIEN 0.5 632.50
ISSUES

09/09/24. =H MCKINNEY CONFERENCE WITH OMM TEAM RE: LIEN 1.5 1,290.00
REVIEW (.5); DRAFT MEMORANDUM RE: LIEN
ISSUES (1.0)

09/09/24 DKELLY PREP FOR AND ATTEND CALL RE: LIEN ISSUES 1.4 1,498.00
(.5); EDIT LIEN REVIEW MEMO (.9)

09/10/24 ZSMITH RESEARCH IN CONNECTION WITH LIEN REVIEW 0.2 231.00

09/11/24 HMCKINNEY CONDUCT LEGAL RESEARCH WITH RESPECT 3.5 3,010.00

LIEN ISSUES (2.3); DRAFT LIEN REVIEW
MEMORANDUM (1.2)

09/12/24 =H MCKINNEY CONDUCT LEGAL RESEARCH WITH RESPECT TO 5.1 4,386.00
IDAHO LIEN ISSUES (2.3); DRAFT MEMORANDUM
RE: SAME (2.8)

09/13/24 Z SMITH DRAFT LIEN REVIEW MEMO INSERT 3.1 3,580.50
09/13/24 S MILDE DRAFT LIEN REVIEW MEMORANDUM 2.0 1,520.00
09/13/24 H MCKINNEY CONDUCT LEGAL RESEARCH WITH RESPECT TO 8.0 6,880.00

IDAHO LIEN ISSUES (3.7); DRAFT MEMORANDUM
RE: SAME (3.8); CONFERENCE WITH OMM TEAM
TO DISCUSS MEMORANDUM (0.4)

09/13/24 G OLIVERA ANALYSIS IN CONNECTION WITH LIEN REVIEW 13 1,644.50

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O'Melveny

Client: MILLENKAMP CATTLE UNSECURED CREDITORS’ COMMITTEE 10/30/24
Matter Name: MILLENKAMP CATTLE CHAPTER 11 Invoice: 1189433

Page No. 3
Date Name Description Hours Amount
09/16/24 D KELLY ATTN TO LIEN REVIEW MEMO EMAILS RE: SAME 0.3 321.00
09/16/24 S MILDE DRAFT AND EDIT LIEN REVIEW MEMORANDUM 3.0 2,280.00

(1.1); REVIEW AND ANALYZE LIEN DOCUMENTS
AND UCC-1 FINANCING STATEMENTS (1.9)

09/17/24 NMOLNER COMMUNICATIONS WITH D. KELLY REGARDING 0.2 214.00
LIEN REVIEW

09/17/24 DKELLY FINALIZE LIEN REVIEW MEMO (2.7), EMAILS RE: 2.9 3,103.00
SAME (0.2)

09/17/24 SMILDE REVIEW AND ANALYZE LIEN DOCUMENTS AND 44 3,344.00

UCC-1 FINANCING STATEMENTS (2.7); DRAFT
LIEN REVIEW MEMORANDUM (1.4);
INCORPORATE D. KELLY COMMENTS (0.3)

09/18/24 NMOLNER REVIEW LIEN REVIEW MEMO 0.4 428.00

09/18/24 NMOLNER RESEARCH CASE LAW REGARDING SECTION 14 1,177.00
§52 OF THE BANKRUPTCY CODE IN
CONNECTION WITH LIEN INVESTIGATION

09/19/24 N MOLNER REVIEW RABO DECLARATION FOR SECTION 552 0.5 535.00
RESEARCH IN CONNECTION WITH LIEN
INVESTIGATION

09/19/24 N MOLNER REVIEW LIEN REVIEW MEMO FOR 552 0.8 856.00
RESEARCH IN CONNECTION WITH LIEN
INVESTIGATION

09/19/24 N MOLNER RESEARCH CASE LAW REGARDING SECTION 1.6 1,712.00
552 OF THE BANKRUPTCY CODE IN
CONNECTION WITH LIEN INVESTIGATION

09/19/24 NMOLNER REVIEW MILLENKAMP DECLARATION FOR 0.7 749.00
SECTION 552 RESEARCH IN CONNECTION WITH
LIEN INVESTIGATION

09/19/24 M KREMER REVIEW AND REVISE LIEN ANALYSIS 14 1,545.50
MEMORANDUM

09/20/24 G OLIVERA EDIT LIEN REVIEW ANALYSIS 1.9 2,403.50

09/20/24 N MOLNER ANALYZE APPLICATION OF SECTIONS 552 AND 0.8 856.00

506 WITH RESPECT TO MILLENKAMP ASSETS IN
CONNECTION WITH LIEN INVESTIGATION

09/20/24 N MOLNER COMMUNICATIONS WITH G. OLIVERA 0.3 321.00
REGARDING SECTIONS 552 AND 506 CASE LAW
IN CONNECTION WITH LIEN INVESTIGATION

09/23/24 GOLIVERA REVIEW M. KREMER EDITS TO LIEN REVIEW 0.4 506.00
MEMO

09/23/24 GOLIVERA EDITS TO THE LIEN REVIEW MEMO 1.7 2,150.50

09/23/24 M KREMER REVIEW AND REVISE LIEN REVIEW 1.5 2,107.50

MEMORANDUM (1.2); EMAIL/CALLS WITH G.
OLIVERA RE: THE SAME (.3)

09/23/24 DKELLY REVIEW LIEN REVIEW MEMO (0.7); REVISIONS 3.3 3,531.00
RE: SAME (2.6)
09/24/24 GOLIVERA REVIEW AND ANALYZE COLLATERAL PACKAGES 2.1 2,656.50

FOR ALL SECURED CREDITORS IN CONNECTION
WITH PLAN STRATEGY

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Matter Name: MILLENKAMP CATTLE CHAPTER 11 Invoice: 1189433
Page No. 4
Date Name Description Hours Amount
09/24/24 M KREMER REVIEW AND REVISE UPDATED LIEN 0.8 41,124.00
INVESTIGATION MEMO
09/25/24 G OLIVERA COMMUNICATIONS WITH OMM TEAM RE: LIEN 0.3 379.50
REVIEW
09/25/24 G OLIVERA DILIGENCE IN CONNECTION WITH LIEN REVIEW 0.5 632.50
09/25/24 R BRAMAN COMMUNICATIONS WITH OMM TEAM AND 0.6 306.00

VENDOR REGARDING UCC LIEN AND LITIGATION
SEARCHES AND JURISDICTION PARAMETERS

09/25/24 N MOLNER REVIEW METLIFE DECLARATION IN 0.4 428.00
CONNECTION WITH LIEN INVESTIGATION
09/25/24 N MOLNER DRAFT EMAIL TO G. OLIVERA REGARDING 0.3 321.00

SECTION 552 RESEARCH IN CONNECTION WITH
LIEN INVESTIGATION

09/25/24 NMOLNER RESEARCH SECTION 552 CASE LAW IN 29 3,103.00
CONNECTION WITH LIEN INVESTIGATION

09/25/24 NMOLNER REVIEW DRAFT LIQUIDATION ANALYSIS AND 0.3 321.00
TERM SHEET SUMMARY

09/25/24 NMOLNER REVIEW RABO DECLARATION IN CONNECTION 0.3 321.00
WITH LIEN INVESTIGATION

09/25/24 DKELLY REVIEW MORTGAGES (0.8); REVISE LIEN 1.4 1,498.00
REVIEW MEMO RE: SAME (0.6)

Total B120 ASSET ANALYSIS & RECOVERY 73.5 72,969.50

Bi50 MEETINGS OF & COMMUNICATION W/ CREDITORS

09/03/24 GOLIVERA PARTICIPATE IN WEEKLY STANDING CALL WITH 11 1,391.50
THE UCC

09/03/24 J GURULE WEEKLY UCC MEETING 1.1 1,523.50

og/03/24. J GURULE EMAILS WITH COMMITTEE MEMBERS RE: 0.4 138.50
AGENDA

09/03/24 J GURULE PREP AND CIRCULATE AGENDA TO UCC 0.1 138.50
MEMBERS FOR WEEKLY MEETING

09/03/24. MKREMER WEEKLY COMMITTEE MEETING 1.1 1,545.50

09/04/24 J GURULE DRAFT MEETING UPDATE FOR COMMITTEE 0.1 138.50
MEMBER

09/04/24 JGURULE CORRESPONDENCE WITH UCC MEMBERS 0.1 138.50

09/04/24 J GURULE PREP FOR UGC MEETING AND REVIEW 0.4 554.00
MATERIALS

09/05/24 J GURULE CORRESPONDENCE WITH COMMITTEE MEMBER 0.1 138.50
RE: MEETING WITH DEBTORS

09/05/24 GOLIVERA PARTICIPATE IN CONFERENCE CALL WITH UCC 0.6 759.00
RE: MEETING WITH DEBTORS ON PLAN
STRATEGY

09/05/24 J GURULE UCC DEBRIEF CALL RE: MEETING WITH 0.5 692.50

DEBTORS ON CASE STRATEGY

09/05/24 M KREMER DEBRIEF CALL WITH UCC RE: CALL WITH 0.5 702.50
MANAGEMENT ON CASE STRATEGY

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O'Melveny

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Matter Name: MILLENKAMP CATTLE CHAPTER 11 Invoice: 1189433
Page. No. 5

Date Name Description Hours Amount

09/09/24 G OLIVERA DRAFT AGENDA FOR WEEKLY UCC MEETING 0.2 253.00

09/10/24 G OLIVERA PARTICIPATE IN WEEKLY STANDING CALL WITH 0.7 885.50
THE CREDITORS’ COMMITTEE

09/10/24 N MOLNER ATTEND WEEKLY CALL WITH COMMITTEE 0.7 749.00

09/10/24 M KREMER WEEKLY UCC CALL 0.7 983.50

09/10/24 J GURULE PREP FOR WEEKLY UCC MEETING 0.2 277.00

09/10/24 J GURULE CIRCULATE AGENDA TO UCC MEMBERS 0.1 138.50

09/10/24 J GURULE ATTEND WEEKLY UCC MEETING 0.7 969.50

09/10/24 J GURULE CORRESPONDENCE WITH COMMITTEE MEMBER 0.1 138.50
RE: MEETING WITH DEBTORS

09/11/24 J GURULE CONFERENCE CALL WITH COMMITTEE MEMBER 0.2 277.00
D. NOBLE RE PLAN ISSUES

09/16/24 G OLIVERA PREPARE AGENDA FOR WEEKLY UCC MEETING 0.3 379.50

09/17/24 M KREMER WEEKLY CALL WITH UCC (.5); PREPARE FOR 0.8 1,124.00
THE SAME (.3)

09/17/24 J GURULE CONFERENCE CALL WITH COMMITTEE MEMBER 0.3 415.50
RE: STATUS

09/17/24 J GURULE WEEKLY UCC MEETING 0.5 692.50

09/17/24 J GURULE REVIEW AND CIRCULATE AGENDA TO UCC 0.2 277.00
MEMBERS

09/17/24 G OLIVERA PARTICIPATE IN WEEKLY CONFERENCE CALL 0.5 632.50
WITH THE UCC

09/17/24 J GURULE CORRESPONDENCE WITH UCC MEMBERS RE: 0.1 138.50
PLAN STATUS

09/23/24 G OLIVERA PREPARE AGENDA FOR WEEKLY UCC MEETING 0.3 379.50

09/24/24 G OLIVERA PARTICIPATE IN WEEKLY CONFERENCE CALL 0.4 506.00
WITH THE UNSECURED CREDITORS’
COMMITTEE

09/24/24 M KREMER WEEKLY CALL WITH COMMITTEE 0.4 562.00

09/24/24 J GURULE ATTEND WEEKLY UCC MEETING 0.4 554.00

09/27/24 G OLIVERA CONFERENCE CALL WITH COMMITTEE RE: PLAN 0.9 1,138.50
ISSUES

09/27/24 M KREMER CALL WITH UCC RE: LIQUIDITY ANALYSIS AND 0.9 1,264.50
PLAN

09/27/24 J GURULE CONFERENCE CALL WITH D. NOBLE AND A. 0.4 554.00
BURNS RE: PLAN BACKGROUND AND STRATEGY

09/27/24 J GURULE CALL WITH UCC 0.9 1,246.50

09/30/24 N MOLNER REVIEW ARMORY ANALYSIS OF DRAFT PLAN 0.1 107.00
FOR UCC DECK

09/30/24 N MOLNER PROOF PLAN SUMMARY DECK FOR UCC 0.6 642.00

Total B150 MEETINGS OF & COMMUNICATION W/ CREDITORS 17.4 23,146.00

B160 FEE/EMPLOYMENT APPLICATIONS

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O'Melveny

Client. MILLENKAMP CATTLE UNSECURED CREDITORS’ COMMITTEE 10/30/24
Matter Name: MILLENKAMP CATTLE CHAPTER 14 Invoice: 1189433
Page No. 6

Date Name Description Hours Amount

09/09/24 J GURULE EMAIL TO UCC CO CHAIRS RE ARMORY 0.4 138.50
RETENTION

09/09/24 G OLIVERA COMMUNICATIONS WITH ARMORY TEAM RE: 0.3 379:50
ARMORY COVER APPLICATIONS

09/09/24 G OLIVERA EDITS TO ARMORY COVER APPLICATIONS 0.3 379.50

09/09/24 N MOLNER REVIEW ARMORY COVER SHEET FEE 0.4 428.00
APPLICATIONS

09/17/24 G OLIVERA REVIEW AND EDIT O’MELVENY’S AUGUST 2024 1.2 4,518.00
BILL

09/18/24 G OLIVERA REVIEW AND ANALYZE THE DEBTORS’ UPDATED 0.6 759.00
CASH.COLLATERAL BUDGET

09/19/24 G OLIVERA REVIEW AND EDIT ARMORY'’S AUGUST 2024 0.6 759,00
INTERIM FEE APP

09/19/24 G OLIVERA DRAFT OMM’S AUGUST 2024 INTERIM FEE 0.8 1,012.00
APPLICATION AND NOTICE

09/20/24 G OLIVERA EMAIL B. ANDERSON RE: CNO FOR OMM 0.1 126.50
INTERIM FEE APPLICATION

09/23/24 G OLIVERA DRAFT AND EDIT STIPULATION RE: OCT. 2 0.4 506.00
HEARING

09/23/24 G OLIVERA COMMUNICATIONS WITH OMM TEAM RE: FEE 0.2 253.00
APPLICATION

09/24/24 M KREMER REVISE O'MELVENY'S AUGUST 2024 FEE APP. 0.2 281.00

09/25/24 G OLIVERA EDIT OMM AUGUST 2024 BILL 0.6 759.00

09/25/24 M KREMER REVIEW AND REVISE FEE 0.5 702.50
APPLICATION/INVOICES

09/26/24 G OLIVERA REVIEW DEBTORS’ APPLICATION TO EMPLOY 0.4 506.00

LANCE VANDEMARK AND THEODORE ISBELL OF
VERTEX AS EXPERT WITNESSES

Total B160 FEE/EMPLOYMENT APPLICATIONS 6.7 8,507.50
B185 ASSUMPTION/REJECTION LEASES/CONTRACTS

09/04/24 GOLIVERA REVIEW AND ANALYZE DEBTORS’ DRAFT 0.6 759.00
RESISTANCE TO EVD’S MOTION TO COMPEL

09/04/24 GOLIVERA DRAFT JOINDER IN OPPOSITION TO EVP 0.7 885.50
OBJECTION TO COMPEL
ASSUMPTION/REJECTION

09/04/24 GOLIVERA REVIEW, ANALYZE, AND COMMENT ON 0.8 1,012.00
DEBTORS' DRAFT OBJECTION TO EVD'S MOTION
TO COMPEL

09/04/24 M KREMER REVIEW AND REVISE DEBTORS OBJECTION TO 0.6 843.00
EVD MOTION TO COMPEL

09/04/24 MKREMER REVIEW AND REVISE JOINDER TO OBJECTION 0.2 281.00
TO MOTION TO COMPEL

09/05/24 JGURULE REVIEW OPPOSITION TO EVD MOTION TO 0.1 138.50
ASSUME OR REJECT

09/05/24 GOLIVERA REVIEW AND ANALYZE DEBTORS’ OBJECTION 0.6 759.00

TO EVD MOTION TO COMPEL

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a
O'Melveny
Client: MILLENKAMP CATTLE UNSECURED CREDITORS’ COMMITTEE 10/30/24
Matter Name: MILLENKAMP CATTLE CHAPTER 11 Invoice: 1189433
Page No. 7
Date Name Description Hours Amount
09/05/24 G OLIVERA COMMUNICATIONS WITH OMM AND DENTONS 0.3 379.50
TEAM RE: JOINDER TO EVD MOTION TO COMPEL
09/05/24 G OLIVERA EDIT JOINDER TO DEBTORS’ OBJECTION TO 0.3 379.50
EVD MOTION TO COMPEL
09/10/24 G OLIVERA DRAFT STATEMENT FOR HEARING ON EVD 0.6 759.00
, MOTION TO COMPEL ASSUMPTION OR .
REJECTION OF EXECUTORY CONTRACT
09/11/24 G OLIVERA EDIT STIPULATION RE: EVD MOTION TO COMPEL 0.3 379.50
09/11/24 M KREMER REVIEW AND REVISE.-STIPULATION WITH EAST 0.8 1,124.00
VALLEY DEVELOPMENT (.4); EMAILS WITH OMM
TEAM RE: THE SAME (.2); EMAILS WITH
DENTONS RE: THE SAME (.2)
09/11/24 G OLIVERA COMMUNICATIONS WITH OMM TEAM RE: EVD 0.2 253.00
MOTION TO COMPEL
09/11/24 G OLIVERA COMMUNICATIONS WITH DEBTORS’ COUNSEL 0.2 253.00
RE: EVD MOTION TO COMPEL
09/11/24 G OLIVERA EMAIL THE UCC RE: EVD MOTION TO COMPEL 0.2 253.00
09/11/24 J GURULE REVIEW EAST VALLEY STIP AND EMAIL M 0.1 138.50
KREMER RE SAME
09/12/24 J GURULE ATTEND SEPTEMBER OMNIBUS HEARING 0.3 415.50
Total B185 ASSUMPTION/REJECTION LEASES/CONTRACTS 6.9 9,012.50
B190 OTHER CONTESTED MATTERS
09/10/24 G OLIVERA REVIEW STATUS REPORT FOR SEPTEMBER 0.1 126.50
OMNIBUS HEARING
09/12/24 M KREMER PREPARE FOR AND ATTEND OMNIBUS HEARING 0.7 983.50
09/12/24 N MOLNER ATTEND OMNIBUS HEARING 0.3 321.00
09/12/24 G OLIVERA PARTICIPATE IN SEPTEMBER OMNIBUS 0.3 379.50
HEARING
Total B190 OTHER CONTESTED MATTERS 1.4 1,810.50
B230 FINANCING/CASH COLLATERAL
09/03/24 G OLIVERA REVIEW AND ANALYZE ARMORY WEEKLY 0.4 506.00
VARIANCE REPORTING ANALYSIS
09/05/24 J GURULE ATTEND WEEKLY FORBES CALL ON EXIT 0.4 554.00
FINANCING
09/05/24 G OLIVERA REVIEW AND ANALYZE LATEST EXIT FINANCING 0.4 506.00
MATERIALS
09/05/24 G OLIVERA REVIEW AND ANALYZE THE DEBTORS’ WEEKLY 0.8 1,012.00
VARIANCE REPORTING PACKAGE
09/05/24 G OLIVERA PARTICIPATE IN CONFERENCE CALL WITH 0.4 506.00
DEBTORS’ PROFESSIONALS RE: EXIT
FINANCING
09/05/24 M KREMER WEEKLY EXIT FINANCING UPDATE CALL (.4); 0.6 843.00
EMAILS WITH OMM TEAM RE: THE SAME (.2)
09/06/24 G OLIVERA COMMUNICATIONS WITH DEBTORS AND RABO’S 0.2 253.00

PROFESSIONALS RE: EXIT FINANCING

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09/06/24 M KREMER REVIEW VARIANCE REPORT (.2); EMAIL WITH 0.4 §62.00
ARMORY AND TEAM ON REFINANCING EFFORTS
(.2)
09/10/24 G OLIVERA REVIEW AND ANALYZE ARMORY’S WEEKLY 0.6 759.00
VARIANCE REPORTING ANALYSIS
09/12/24 M KREMER WEEKLY EXIT FINANCING UPDATE CALL 0.3 421.50
09/12/24 G OLIVERA PARTICIPATE IN WEEKLY CONFERENCE CALL 0.3 379.50
WITH DEBTORS PROFESSIONALS RE: EXIT
FINANCING
09/12/24 G OLIVERA REVIEW AND ANALYZE UPDATES RE: EXIT 0.2 253.00
FINANCING
09/12/24 J GURULE CONFERENCE CALL WITH D. MCDONALD.RE: 0.1 138.50
FINANCING STATUS
08/12/24 J GURULE PARTICIPATE IN CONFERENCE CALL RE: EXIT 0.3 415.50
FINANCING
09/13/24 G OLIVERA REVIEW AND ANALYZE THE DEBTORS’ WEEKLY 0.8 4,012.00
VARIANCE REPORTING PACKAGE
09/17/24 G OLIVERA REVIEW AND ANALYZE ARMORY’S ANALYSIS OF 0.6 759.00
DIP VARIANCE
09/19/24 G OLIVERA PARTICIPATE IN WEEKLY MEETING WITH 0.3 379.50
DEBTORS PROFESSIONALS RE: EXIT FINANCING
09/19/24 J GURULE REVIEW UPDATED FINANCING REPORTS 0.1 138.50
09/19/24 M KREMER ATTEND WEEKLY FINANCING CALL 0.3 421.50
09/19/24 G OLIVERA REVIEW AND ANALYZE SUPPORT FOR CASH 0.7 885.50
COLLATERAL BUDGET
09/19/24 G OLIVERA REVIEW AND ANALYZE FORBES UPDATE RE: 0.2 253.00
EXIT FINANCING
09/20/24 J GURULE ANALYSIS OF FINANCING REPORTS 0.2 277.00
09/20/24 G OLIVERA REVIEW AND ANALYZE THE DEBTORS’ WEEKLY 0.8 1,012.00
VARIANCE REPORTING
09/20/24 M KREMER REVIEW FORBES EXIT FINANCING REPORT AND 0.4 562.00
EMAIL WITH OMM TEAM RE: THE SAME
09/23/24 G OLIVERA COMMUNICATIONS WITH OMM AND DEBTORS 0.3 379.50
PROFESSIONALS RE: CASH COLLATERAL
MOTION
09/23/24 M KREMER REVIEW STIPULATION RE: OCT. 2 HEARING ON 0.6 843.00

CASH COLLATERAL (.2); REVISE THE SAME (.2);
EMAIL WITH OMM TEAM RE: THE SAME (.2)

09/23/24  GOLIVERA REVIEW STIPULATION. BETWEEN DEBTORS AND 0.3 379.50
PARTIES RE: OCTOBER 2ND AND 3RD HEARING
(.1); CONFER WITH OMM TEAM RE: SAME (.2)

09/24/24 J GURULE REVIEW LATEST VARIANCE ANALYSIS 0.2 277.00

09/24/24 G OLIVERA REVIEW AND ANALYZE ARMORY’S WEEKLY 0.6 759.00
VARIANCE REPORTING DECK

09/24/24 G OLIVERA REVIEW AND ANALYZE EXIT FINANCING TERM 0.7 885.50

SHEETS

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09/24/24 N MOLNER REVIEW CONFIDENTIAL TERM SHEETS 0.6 642.00
PROVIDED.BY DEBTORS
09/24/24 J GURULE ATTN TO CASH COLLATERAL STIP 0.1 138.50
09/25/24 M KREMER REVIEW AND REVISE LIQUIDATION ANALYSIS 0.6 843.00
(0.5); EMAILS WITH G. OLIVERA RE: THE SAME
(0.1)
09/26/24 G OLIVERA REVIEW MATERIALS FROM DEBTORS’ 0.3 379.50
INVESTMENT BANKERS RE: EXIT FINANCING
09/26/24 G OLIVERA PARTICIPATE IN CONFERENCE CALL WITH 0.2 253.00
DEBTORS’ INVESTMENT BANKERS RE: EXIT
FINANCING
09/26/24 M KREMER WEEKLY FINANCING CALL 0:2 281.00
09/26/24 J GURULE ATTEND FORBES FINANCING UPDATE 0.2 277.00
09/26/24 J GURULE CONFERENCE CALL WITH D. MCDONALD RE: 0.2 277.00
EXIT FINANCING PROCESS
Total B230 FINANCING/CASH COLLATERAL 14.9 19,423.50
B320 PLAN & DISCLOSURE STATEMENT
09/03/24 G OLIVERA CONFERENCE CALL WITH DEBTORS’ 0.5 632.50
PROFESSIONALS RE: PLAN STRATEGY
09/03/24 J GURULE WEEKLY UPDATE CALL WITH DEBTORS RE: 0.5 692.50
PLAN
09/03/24 J GURULE CONFERENCE. CALL WITH M. KREMER. RE: PLAN 0.1 138.50
STRATEGY
09/03/24 M KREMER WEEKLY CALL WITH DEBTORS COUNSEL RE: 0.5 702.50
PLAN STRATEGY (.4); CONFER WITH GURULE
RE: SAME (1)
09/05/24 J GURULE CONFERENCE CALL WITH D. MCDONALD RE 0.1 138.50
DEBTOR MEETING ON PLAN STRATEGY
09/09/24 J GURULE ANALYSIS OF PLAN ISSUES AND STRATEGY 0.3 415.50
09/10/24 G OLIVERA PARTICIPATE IN WEEKLY STANDING CALL WITH 0.6 759.00
THE DEBTORS’ PROFESSIONALS RE: PLAN
STRATEGY
09/10/24 J GURULE CORRESPONDENCE FROM RABO COUNSEL 0.1 138.50
09/10/24 N MOLNER ATTEND WEEKLY CALL WITH DEBTORS 0.6 642.00
COUNSEL AND PROFESSIONALS RE: PLAN
STRATEGY
09/10/24 M KREMER WEEKLY CALL WITH DEBTORS COUNSEL RE: 0.6 843.00
PLAN STRATEGY
09/10/24 J GURULE WEEKLY STANDING CALL WITH DEBTORS' 0.6 831.00
ADVISORS RE: PLAN STRATEGY
09/10/24 J GURULE CONFERENCE CALL WITH M. KREMER RE: PLAN 0.2 277.00
STRATEGY
09/17/24 N MOLNER ATTEND WEEKLY CALL WITH DEBTORS AND 0.5 535.00

PROFESSIONALS RE: PLAN STRATEGY
09/17/24 N MOLNER ATTEND WEEKLY CALL WITH UCG 0.5 535.00

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09/17/24 M KREMER EMAILS WITH .OMM TEAM RE: EXCLUSIVITY 0.2 281.00

09/17/24 M KREMER WEEKLY CALL WITH DEBTORS RE: PLAN 0.5 702.50
STRATEGY (.4) CONFER WITH J. GURULE RE:
SAME (.1)

09/17/24 J GURULE WEEKLY MEETING WITH DEBTORS’ ADVISORS 0.5 692.50
RE PLAN AND CASE STATUS

09/17/24 Jd GURULE CONFERENCE CALL WITH G. OLIVERA RE 0.2 277.00
STATUS OF PLAN WORK STREAMS

09/17/24 J GURULE ANALYSIS OF PLAN STRATEGY 0.2 277.00

09/17/24 G OLIVERA CONFER WITH OMM TEAM RE: EXCLUSIVITY 0.4 506.00
ISSUES

09/17/24 G OLIVERA PARTICIPATE IN-WEEKLY CONFERENCE CALL 0.5 632.50
WITH DEBTORS’ COUNSEL RE: PLAN STRATEGY

09/17/24 J GURULE CORRESPONDENCE WITH OMM TEAM RE: PLAN 0.1 138.50
ISSUES

09/23/24 J GURULE CONFERENCE CALL WITH D. MCDONALD RE 0.3 415.50
PLAN STRATEGY

09/24/24 G OLIVERA REVIEW, ANALYZE, AND EDIT LIQUIDATION 3.3 4,174.50
ANALYSIS FOR UCC

09/24/24 N MOLNER ANALYZE AND COMMENT ON ARMORY 14 1,177.00
LIQUIDATION ANALYSIS

09/24/24 N MOLNER DRAFT EMAIL TO G. OLIVERA REGARDING 0.1 107.00
COMMENTS ON ARMORY LIQUIDATION
ANALYSIS

09/24/24 N MOLNER ATTEND WEEKLY CALL WITH DEBTORS AND 0.4 428.00
PROFESSIONALS RE: PLAN STRATEGY

09/24/24 G OLIVERA PARTICIPATE IN WEEKLY CONFERENCE CALL 0.4 506.00
WITH DEBTORS’ PROFESSIONALS RE: PLAN
STRATEGY

09/24/24 N MOLNER REVIEW TEAM COMMENTS TO ARMORY 0.4 428.00
LIQUIDATION ANALYSIS

09/24/24 M KREMER WEEKLY CALL WITH DEBTORS PROFESSIONALS 0.4 562.00
RE: PLAN STRATEGY

09/24/24 M KREMER REVIEW AND REVISE LIQUIDATION ANALYSIS 0.5 702.50

09/24/24 D KELLY ANALYSIS OF LIEN DOCUMENTATION IN 0.8 856.00
CONNECTION WITH LIQUIDATION ANALYSIS FOR
THE COMMITTEE

09/24/24 J GURULE WEEKLY UPDATE CALL WITH DEBTORS RE: 0.4 554.00
PLAN STRATEGY

09/24/24 J GURULE ANALYSIS OF LIQUIDATION ANALYSIS ISSUES 0.3 415.50

09/25/24 G OLIVERA CONFERENCE CALL WITH OMM TEAM RE: PLAN 0.4 506.00
ISSUES

09/25/24 G OLIVERA REVIEW, ANALYZE, AND EDIT LIQUIDATION 1.9 2,403.50
ANALYSIS

09/25/24 G OLIVERA CONFERENCE CALL WITH OMM AND ARMORY 0.5 632.50

TEAMS RE: LIQUIDATION ANALYSIS

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09/25/24 J GURULE CONFERENCE CALL WITH G. OLIVERA RE: PLAN 0.3 415.50
WORK.-STREAMS AND OPEN ITEMS

09/25/24 J GURULE CALL WITH OMM AND ARMORY TEAMS RE 0.5 692.50
LIQUIDATION ANALYSIS

09/25/24 N MOLNER ATTEND CALL WITH OMM TEAM AND ARMORY 0.5 535.00
TEAM REGARDING LIQUIDATION ANALYSIS

09/26/24 G OLIVERA REVIEW AND EDIT PRESENTATION TO 0.8 1,012.00
COMMITTEE RE: BANKRUPTCY OUTCOMES

09/26/24 N MOLNER REVIEW DRAFT OF LIQUIDATION ANALYSIS AND 0.3 321.00
TERM SHEET SUMMARY

09/26/24 N MOLNER COMMUNICATIONS WITH ARMORY TEAM 0.9 963.00
REGARDING LIQUIDATION ANALYSIS AND TERM
SHEET SUMMARIES

09/26/24 J GURULE ATTN TO LIQUIDATION ANALYSIS 0.2 277.00

09/27/24 G OLIVERA COMMUNICATIONS WITH OMM AND ARMORY 0.6 759.00
TEAMS RE: PLAN ISSUES

09/27/24 G OLIVERA REVIEW AND EDIT PRESENTATION TO 0.6 759.00
COMMITTEE RE: BANKRUPTCY OUTCOMES

09/27/24 G OLIVERA REVIEW AND ANALYZE DEBTORS’ DRAFT PLAN 3.3 4,174.50
OF REORGANIZATION

09/27/24 G OLIVERA PREPARE ANALYSIS FOR CONFERENCE CALL 0.9 4,138.50
WITH COMMITTEE RE: PLAN ISSUES

09/27/24 M KREMER REVIEW DRAFT PLAN AND EMAILS WITH OMM 0.8 1,124.00
TEAM RE: THE SAME

09/27/24 N MOLNER REVIEW DRAFT PLAN 0.4 428.00

09/27/24 J GURULE CONFERENCE CALL WITH D. MCDONALD RE 0.1 138.50
LIQUIDATION ANALYSIS AND PLAN

09/27/24 J GURULE CONFERENCE CALL WITH G. OLIVERA RE UCC 0.1 138.50
MEETING AND LIQUIDATION ANALYSIS

09/27/24 J GURULE CORRESPONDENCE WITH OMM TEAM RE PLAN 0.1 138.50
SUMMARY FOR UCC

09/27/24 J GURULE ANALYSIS OF DRAFT PLAN FROM DENTONS 0.4 §54.00

09/28/24 N MOLNER DRAFT SUMMARY OF CLAIM TREATMENT 24 2,568.00

UNDER PROPOSED PLAN AND ANTICIPATED
PLAN SCHEDULE FOR UCC DECK

09/28/24 N MOLNER REVIEW DRAFT PLAN FOR CLIENT SUMMARY 0.3 321.00

09/28/24 NMOLNER COMMUNICATIONS WITH G. OLIVERA 0.2 214.00
REGARDING SUMMARY OF DRAFT PLAN

09/28/24 GOLIVERA DRAFT ANALYSIS OF DEBTORS’ DRAFT PLAN OF 2.9 3,668.50

REORGANIZATION FOR THE UNSECURED
CREDITORS’ COMMITTEE

09/28/24 G OLIVERA REVIEW AND ANALYZE DEBTORS’ DRAFT PLAN 1.7 2,150.50
OF REORGANIZATION

09/29/24 N MOLNER COMMUNICATIONS WITH ARMORY TEAM 0.6 642.00
REGARDING PLAN RECOVERY ANALYSIS

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09/29/24 G OLIVERA EDIT ANALYSIS OF DEBTORS’ DRAFT PLAN OF 2.1 2,656.50

REORGANIZATION FOR THE UNSECURED
CREDITORS’ COMMITTEE

09/30/24 N MOLNER REVIEW FILED DISCLOSURE STATEMENT 0.5 535.00
09/30/24 N MOLNER REVIEW FILED CHAPTER 11. PLAN 0.4 428.00
09/30/24 M KREMER REVIEW MILLENKAMP FILED: PLAN AND 2.3 3,231.50

DISCLOSURE. STATEMENT (1.0); REVIEW AND
REVISE SUMMARY/ISSUES DECK FOR UCC (1.1);
EMAILS WITH OMM TEAM (.2)

09/30/24 GOLIVERA REVIEW AND ANALYZE DEBTORS’ DRAFT PLAN 1.6 2,024.00
OF REORGANIZATION

09/30/24 GOLIVERA EDIT ANALYSIS RE: FINANCIAL BACKUP FOR 0.9 1,138.50
PLAN OF REORGANIZATION

09/30/24 GOLIVERA EDIT ANALYSIS OF DEBTORS’ DRAFT PLAN OF 2.7 3,415.50

REORGANIZATION FOR THE UNSECURED
CREDITORS’ COMMITTEE

Total B320 PLAN & DISCLOSURE STATEMENT 48.9 61,217.00
Total 169.7 $196,086.50
Less 15% Discount (29,412.98)
Total Fees After Adjustment 166,673.52

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Disbursements

Document Production $107.10
Online Research 4,495.54
Other Professionals 2,301.00
Total Disbursements $6,903.64

Total Current Invoice $173,577.16

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Timekeeper Summary.

Timekeeper Title Rate Hours Amount
MATTHEW P. KREMER Partner 1,405.00 20.0 28,100.00
JULIAN GURULE Partner 1,385.00 14.6 20,221.00
Total for Partner 34.6 48,321.00
GABRIEL L. OLIVERA Counsel 1,265.00 61.0 77,165.00
Total for Counsel 61.0 77,165.00
ZACH SMITH Associate 1,155.00 414 4,735.50
DECLAN P. KELLY Associate 1,070.00 12.1 12,947.00
NICOLE MOLNER Associate 4,070.00 23.4 25,038.00
HATTIE MCKINNEY Associate 860.00 18.1 15,566.00
SEAN MILDE Associate 760.00 15.8 12,008.00
Total for Associate 73.5 70,294.50
REGINA BRAMAN Paralegal 510.00 0.6 306.00
Total for Paralegal 0.6 306.00

Total 169.7 196,086.50

